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                              EXHIBIT 2
Jim Loveland - President - Xactware Solutions - Verisk                                                                                                                                                 Page 1 of 1
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                                                                                                                                                                            BLOG (HTTP://WWW.VERISK.COM/BLOG) | CA
                                                     (/)                                                                                                                                       (/CAREERS/OVERVIEW




      0 HOME (/)         ¹ ABOUT VERISK (/about-verisk.html)            Í OUR MARKETS               PRODUCT FINDER (/products-and-services.html)                ĉ CONFERENCES          (/conferences.html)



      Ő Overview
        INVESTORS(/about-verisk.html)
                     (http://investor.verisk.com/)         É PRESS (/press-releases-verisk/2015.html)
                                                                                           JIM LOVELAND¨—CONTACT (/contact-verisk.html)
                                                                                                          GROUP EXECUTIVE,   SENIOR VICE PRESIDENT — VERISK ANALYTICS, PRESIDENT — XACTWA
                                                                                             SOLUTIONS
        Verisk Locations (/about-verisk/offices-
        directions/offices-directions.html)                                                      Jim Loveland is a senior vice president of Verisk Analytics and president of Xactware Solutions, the leading provider
                                                                                                 estimating systems for the property insurance, remodeling, and restoration industries. The company’s technology too
                                                                                                 include software estimating programs for PCs and tablet PCs, as well as online systems for replacement-cost
        Leadership (/about-verisk/leadership/verisk-
        leadership.html)                                                                         calculations, estimate tracking, and data trending in real time.

                                                                                                 Mr. Loveland is a group executive responsible for Verisk Insurance Solutions – Underwriting and Xactware. Verisk
        Honors and Awards (/about-verisk/honors-                                                 Insurance Solutions – Underwriting develops and delivers underwriting information and services for the property/casu
        and-awards/honors-and-awards.html)                                                       insurance industry. The division has responsibility for Verisk’s A-PLUSTM, Coverage VerifierSM, LOCATION®, LOCATIO
                                                                                                 Analyst, QuickFill®, and 360Value® product lines, among others.
        Corporate Social Responsibility                                                          During Mr. Loveland’s tenure as Xactware's president, the company has expanded business operations into several
        (/csr/index.html)                                                                        international markets, broadened its customer base into new vertical markets, joined the Verisk Analytics Family of
                                                                                                 Companies, and overseen the release of many new products and services. Today, Mr. Loveland leads a company wi
        Verisk Family of Companies (/about-                                                      more than 400 employees.
        verisk/verisk-family-of-companies/verisk-
        family-of-companies.html)                                                                Mr. Loveland has been with Xactware since 1988. Before being appointed president, he was senior vice president of
                                                                                                 XactNet, the pricing, property-estimate network, and data-mining division of the business.

        Verisk Strategic Alliances (/verisk-strategic-           Mr. Loveland holds a bachelor of science degree in computer science from Brigham Young University and a master of business administration degre
        alliances.html)                                          from the University of Utah. He serves on the boards of a number of charitable organizations. In 2011, Utah Business magazine named Mr. Loveland
                                                                 CEO of the Year.




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           Our Markets                                                                        Help
           ĵ P/C Insurance (/index.php?                                                       ĵ View all products (/index.php?

           option=com_k2&view=item&layout=item&id=5747&Itemid=868)                            option=com_k2&view=itemlist&layout=category&task=category&id=453&Itemid=914&lang=en)

           ĵ Healthcare (/index.php?                                                          ĵ Customer login - ISO online products

           option=com_k2&view=item&layout=item&id=2380&Itemid=870)                            (https://info.iso.com/)

           ĵ Financial Services (/index.php?                                                  ĵ Online Privacy Notice (/iso/privacy-trademarks-

           option=com_k2&view=item&layout=item&id=2379&Itemid=869)                            use/verisk-online-privacy-notice.html)                                   (http://www.forbes.com/companies/verisk-analytics
           ĵ Supply Chain (/index.php?                                                        ĵ Conditions of Use (/index.php?

           option=com_k2&view=item&layout=item&id=1278&Itemid=906)                            option=com_k2&view=item&layout=item&id=871)

           ĵ HR Departments (/index.php?                                                      ĵ Verisk Trademarks (/index.php?

           option=com_k2&view=item&layout=item&id=5517&Itemid=894)                            option=com_k2&view=item&id=872)

           ĵ Retail (/index.php?                                                              ĵ Verisk Business Units Safe Harbor Statements                           review)

           option=com_k2&view=item&layout=item&id=1568&Itemid=871)                            (/iso/privacy-trademarks-use/safe-harbor.html)

           ĵ Commercial Real Estate (/index.php?

           option=com_k2&view=item&layout=item&id=2273&Itemid=911)

           ĵ Government Services (http://www.isogov.com/)

           ĵ Community Hazard Mitigation

           (http://www.isomitigation.com/)

           ĵ Climate Risk (http://www.veriskclimate.com/)



                              (http://www.woodmac.com/public/home)                        (http://maplecroft.com/)                     (http://veriskclimate.com/)                    (http://www.xactware.com)


        (http://3ecompany.com/)                       (http://www.veriskhealth.com/)                   (http://www.argusinformation.com/)                      (http://ner.net/)              (http://www.air-worldwide.


                                                                              (http://www.intellicorp.net/)                    (http://www.aer.com)                  (/iso.html)




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                                                                                                                  verisk




http://www.verisk.com/about-verisk/leadership/jim-loveland-president-xactware-solutions.html                                                                                                             8/26/2015
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                         New Jersey Business Gateway
                   Business Entity Information and Records Service
                         Business Id : 0101006731

         Status Report For:       XACTWARE SOLUTIONS, INC.
         Report Date:             8/12/2015
         Confirmation Number:     5224703218


IDENTIFICATION NUMBER, ENTITY TYPE AND STATUS INFORMATION


         Business ID Number:      0101006731
         Business Type:           FOREIGN PROFIT CORPORATION
         Status:                  ACTIVE
         Original Filing Date:    01/25/2010
         Stock Amount:            N/A
         Home Jurisdiction:       DE
         Status Change Date:      NOT APPLICABLE


REVOCATION/SUSPENSION INFORMATION


         DOR Suspension   Start   N/A
         Date:
         DOR Suspension   End     N/A
         Date:
         Tax Suspension   Start   N/A
         Date:
         Tax Suspension   End     N/A
         Date:


ANNUAL REPORT INFORMATION


         Annual Report Month:     JANUARY
         Last Annual Report       10/14/2014
         Filed:
         Year:                    2015


AGENT/SERVICE OF PROCESS (SOP)INFORMATION


         Agent:                 KENNETH E. THOMPSON
         Agent/SOP Address:     C/O INSURANCE SERVICES OFFICE, INC. 545
                                WASHINGTON BOULEVARD,JERSEY CITY,NJ,07310
                                1696
         Address Status:        DELIVERABLE
         Main Business Address: 1426 E. 750 NORTH, OREM, UT, 84097
         Principal Business     545 WASHINGTON BLVD.21ST FLOOR,JERSEY
         Address:               CITY,NJ,07310 1696


ASSOCIATED NAMES
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                          New Jersey Business Gateway
                    Business Entity Information and Records Service
                          Business Id : 0101006731

         Associated Name:          N/A
         Type:                     N/A


PRINCIPALS




Following are the most recently reported officers/directors (corporations),
managers/members/managing members (LLCs), general partners (LPs), trustees/officers
(non-profits).


         Title:                    PRESIDENT
         Name:                     LOVELAND,JAMES
         Address:                  1426 E. 750 NORTH, OREM, UT, 84097
         Title:                    VICE PRESIDENT
         Name:                     STEPHENSON ,SCOTT
         Address:                  545 WASHINGTON BLVD, JERSEY CITY, NJ, 07310
         Title:                    SECRETARY
         Name:                     THOMPSON,KENNETH
         Address:                  545 WASHINGTON BLVD, JERSEY CITY, NJ, 07310


FILING HISTORY -- CORPORATIONS, LIMITED LIABILITY COMPANIES, LIMITED PARTNERSHIPS AND
LIMITED LIABILITY PARTNERSHIPS




To order copies of any of the filings below, return to the service page,
https://www.njportal.com/DOR/businessrecords/Default.aspx and follow the instructions
for obtaining copies. Please note that trade names are filed initially with the County
Clerk(s) and are not available through this service. Contact the Division for
instructions on how to order Trade Mark documents.




Charter Documents for Corporations, LLCs, LPs and LLPs


         Original Filing           2010
         (Certificate)Date:


Changes and Amendments to the Original Certificate:


         Filing Type               Year Filed
         CHANGE OF AGENT AND       2011
         OFFICE
         CHANGE OF AGENT AND       2011
         OFFICE
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                        New Jersey Business Gateway
                  Business Entity Information and Records Service
                        Business Id : 0101006731



         Annual Report filing    2014
         with officer/member
         change


Note:
Copies of some of the charter documents above, particularly those filed before June
1988 and recently filed documents (filed less than 20 work days from the current date),
may not be available for online download.


 • For older filings, contact the Division for instructions on how to order.
 • For recent filings, allow 20 work days from the estimated filing date, revisit the
   service center at https://www.njportal.com/DOR/businessrecords/Default.aspx
   periodically, search for the business again and build a current list of its
   filings. Repeat this procedure until the document shows on the list of documents
   available for download.




The Division cannot provide information on filing requests that are in process. Only
officially filed documents are available for download.
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